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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY
  _____________________________________

   WASH DEPOT HOLDINGS, INC.,
   a Delaware corporation,                         No. 1:23-cv-20413
                           Plaintiff,

                     v.                                  FINAL JUDGMENT
                                                       AGAINST DEFENDANT
   SPARKLING IMAGE DETAILING LLC,                       SPARKLING IMAGE
   a New Jersey limited liability company,                DETAILING LLC

                       Defendant.
  _____________________________________

         WHEREAS, on September 15, 2023, Plaintiff Wash Depot Holdings, Inc.

   (“Wash Depot”) commenced the present action for federal trademark

   infringement, federal unfair competition, federal trademark dilution, and federal

   trademark cybersquatting under the Lanham Act, 15 U.S.C. § 1051, et seq., and

   for violations of corresponding state law, based upon Defendant Sparkling Image

   Detailing LLC’s (“Defendant”) alleged willful violations of Wash Depot’s

   exclusive rights in eight trademarks, specifically, U.S. Trademark Registrations

   Nos. 3,324,615, 4,534,306, 3,339,939, 3,984,151, 5,883,467, 5,883,472,

   6,741,217, and 6,741,219 (the “Wash Depot Marks”), (ECF No. 1) ; and

         WHEREAS, Defendant was served with the summons and complaint (the

   “Complaint”) on October 5, 2023, and the deadline for Defendant to answer or

   otherwise move was October 26, 2023, (ECF Nos. 5, 6); and
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         WHEREAS, Defendant has failed to answer, plead or move with respect

   to the Complaint; and

         WHEREAS, on November 8, 2023, the Clerk entered a default pursuant

   to Fed. R. Civ. P. 55(a); and

         WHEREAS, Wash Depot has now moved for default judgment pursuant

   to Fed. R. Civ. P. 55(b)(2), (ECF No. 20); and

         WHEREAS, the Court has considered the appropriate factors including

   whether there has been proper service, whether the defendant has a meritorious

   defense, the prejudice to the party seeking default, and the culpability of the

   defendant, Doug Brady, Inc. v. N.J. Bldg. Laborers State Wide Funds, 250

   F.R.D. 171, 177 (D.N.J. 2008), and has determined that Wash Depot is entitled

   to default judgment;

         THEREFORE, it is on this 4th day of October, 2024, ORDERED:

         1.     Judgment is entered in favor of Wash Depot and against Defendant

   on Count I, trademark infringement under 15 U.S.C. § 1114(1); Count II, unfair

   competition under 15 U.S.C. § 1125(a); Count III, trademark dilution under 15

   U.S.C. § 1125(c); Count IV, trademark cyberpiracy under 15 U.S.C. § 1125(d);

   Count V, statutory trademark infringement under N.J. Stat. Ann. §56:3-13.16;

   Count VI, statutory unfair competition under N.J. Stat. Ann. § 56:4-1, et seq.;

   and Count VII for trademark infringement and unfair competition under the
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   common law of New Jersey.

         2.         Defendant    and     its    officers,    agents,   members,   employees,

   representatives, parents, subsidiaries, affiliates, divisions, successors and assigns

   shall be permanently enjoined and restrained from using the marks “Sparkling

   Image,” “Sparkling Image Detailing” and others, or any colorable similar

   variants thereof on or in connection with the offering of car wash, car detailing,

   and related services and goods; from infringement of U.S. Trademark

   Registrations Nos. 3,324,615, 4,534,306, 3,339,939, 3,984,151, 5,883,467,

   5,883,472, 6,741,217, and 6,741,219; from unfairly competing with Wash Depot;

   and from engaging in unfair and deceptive trade practices.

         3.         Defendant    and     its    officers,    agents,   members,   employees,

   representatives, parents, subsidiaries, affiliates, divisions, successors and assigns

   are hereby ORDERED as follows:

              (a)    To cease and desist from using any marks that include “sparkling

   image” or similar marks owned by Wash Depot;

              (b)    To cease and desist from using the website domain

   <sswash.com/sparkling-image-detailing-abescon-atlantic-county-new-jersey/>

   and        Facebook          social         media        domain       <www.facebook.com/

   SparklingImageAutoDetailing> in connection with car wash, car detailing

   services, or related services, as well as any website domain and/or social media
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   site that includes “sparkling image” or similar marks owned by Wash Depot; and

               (c)    To forfeit or cancel the domain <sswash.com/sparkling-

   image- detailing-abescon-atlantic-county-new-jersey/>; and

               (d)    To cease use and/or distribution of all labels, signs,

   advertisements, billboards, flyers, brochures, coupons, literature, nameplates,

   website addresses and other material incorporating or reproducing the infringing

   marks prohibited therein.

          4. Wash Depot is awarded statutory damages of $30,000.00 against

  Defendant; and

          5.   Wash Depot is awarded attorneys’ fees of $26,707.48 against

   Defendant, for a total judgment of $56,707.48; and

          6.   The Court shall retain continuing jurisdiction for purposes of

   interpreting and enforcing the terms of this Final Judgment.




                                                CHRISTINE P. O'HEARN, U.S.D.J.
